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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                         ORLANDO DIVISION

JUSTIN G. PACHECO,

                  Plaintiff,

v.                                             Case No: 6:21-cv-1177-RBD-DCI

CRUNCH FITNESS,

                  Defendant.


                               ORDER OF DISMISSAL

      This cause is before the Court upon the Notice of Settlement (Doc. 12),

indicating that this case has settled.    Accordingly, it is ORDERED AND

ADJUDGED:

      1.    That the above-styled cause is hereby DISMISSED WITH

            PREJUDICE, subject to the right of any party to move the Court

            within sixty (60) days thereafter for the purpose of entering a

            stipulated form of final order or judgment; or, on good cause shown,

            to reopen the case for further proceedings.

      2.    All pending motions are denied as moot and all deadlines and

            hearings are terminated.

      3.    The Clerk is DIRECTED to close this file.
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      DONE AND ORDERED in Chambers in Orlando, Florida, on September

23, 2021.




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